Case 0:20-cv-60415-WPD Document 1 Entered on FLSD Docket 02/25/2020 Page 1 of 10



                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

                                      CASE NO.: 0:20-CV-60415

  MIGUEL MARCELO CUADROS RUBIO,

         Plaintiff,

  vs.

  W&P RESTAURANT AND LOUNGE CORP
  f/k/a W&P RESTAURANT BAR AND LOUNGE LLC,
  d/b/a LEVEL 29 BY WILLIAM LEVY,
  PEDRO ORIHUELA, and
  WILLIAM LEVY GUTIERREZ,

        Defendants.
  ______________________________/

                                             COMPLAINT

         Plaintiff, Miguel Marcelo Cuadros Rubio, sues Defendants, W&P Restaurant and Lounge

  Corp f/k/a W&P Restaurant Bar and Lounge LLC d/b/a Level 29 By William Levy, Pedro

  Orihuela, and William Levy Gutierrez, based on the following good cause:

                                      Parties, Jurisdiction, and Venue

         1.      Plaintiff, Miguel Marcelo Cuadros Rubio, is a sui juris resident of Miami-

  Dade County, Florida, who is over 18 years old.

         2.      Plaintiff was an employee of Defendants, as the term “employee” is defined by 29

  U.S.C. §203(e).

         3.      Plaintiff was a non-exempt employee of Defendants.

         4.      Plaintiff consents to participate in this lawsuit

         5.      Defendant, W&P Restaurant Bar and Lounge LLC, is a for-profit Florida

  limited liability corporation that is sui juris and operated its restaurant business in in this District
                                                     1

                        7300 N. Kendall Drive, Suite 450, Miami, Florida 33156
                                  TEL 305.230.4884 FAX 305.230.4844
                                        www.fairlawattorney.com
Case 0:20-cv-60415-WPD Document 1 Entered on FLSD Docket 02/25/2020 Page 2 of 10



  at all times material. Defendant, W&P Restaurant Bar and Lounge LLC, now operates as W&P

  Restaurant and Lounge Corp under the fictitious name of Level 29 By William Levy in Broward

  County, Florida.

          6.      Defendant, Pedro Orihuela, is over 18 years old, a resident of this District,

  and is sui juris. Mr. Orihuela was at all times material an officer/owner/director/member of the

  corporate Defendant for the time period relevant to this lawsuit. He ran its day-to-day

  operations, was responsible for all operational decisions, and was partially or totally responsible

  for paying Plaintiff’s wages.

          7.      Defendants were Plaintiff’s employers, as the term “employer” is defined by 29

  U.S.C. §203 (d). All Defendants employed Plaintiff.

          8.      This Court has original jurisdiction over Plaintiff’s federal question claims

  pursuant to 28 U.S.C. §1331 and 26 U.S.C. §201, et seq., and pendent/supplemental jurisdiction

  over Plaintiff’s related state law claims.

          9.      Venue is proper in this Court pursuant because Defendants transact business in

  Broward County, they maintain their office and principal places of business and/or live in

  Broward County, and also because Defendants employed Plaintiff in Broward County, with most

  of the actions complained of occurring within this County.

          10.     Any/all conditions precedent to filing this lawsuit occurred and/or was satisfied

  by Plaintiff.

          11.     Plaintiff retained the undersigned counsel and agreed to pay a reasonable fee for

  all services rendered.




                                                  2

                        7300 N. Kendall Drive, Suite 450, Miami, Florida 33156
                                  TEL 305.230.4884 FAX 305.230.4844
                                        www.fairlawattorney.com
Case 0:20-cv-60415-WPD Document 1 Entered on FLSD Docket 02/25/2020 Page 3 of 10



                         COUNT I – FLSA MINIMUM WAGE VIOLATION(S)

         Plaintiff, Miguel Marcelo Cuadros Rubio, reincorporates all preceding paragraphs as

  though set forth fully herein and further alleges as follows:

         12.     Defendants regularly employed two or more employees for the relevant time

  period that handled goods or materials that travelled through interstate commerce, or used

  instrumentalities of interstate commerce, thus making Defendants’ business an enterprise covered

  under the Fair Labor Standards Act.

         13.     Defendants have been, at all times material, an enterprise engaged in interstate

  commerce in the course of their marketing, preparation, cooking, service, and sale of foodstuffs,

  produce, meats, fish, seafood, beverages, beers, wines, and/or alcoholic beverages, and products

  that have moved through interstate commerce.

         14.     Defendants cooked, prepared, and stored perishables and sold beer, wine, and/or

  alcoholic beverages, while using machinery, appliances, pizza ovens, ovens, refrigerators, and

  materials that also have moved through interstate commerce.

         15.     Furthermore, Defendants regularly and recurrently obtain, solicit, exchange and

  send funds to and from outside of the State of Florida, use telephonic transmissions going outside

  of the State of Florida to conduct business, and transmit electronic information through

  computers, the internet, via email, and otherwise outside of the State of Florida.

         16.     Defendants’ annual gross revenues derived from this interstate commerce are

  believed to be in excess of $500,000.00 for the relevant time period and/or in excess of

  $125,000.00 for each fiscal quarter in which Plaintiff worked.

         17.     To the extent that records exist regarding the exact dates of Plaintiff’s

  employment exist, such records are in the exclusive custody of Defendants.
                                                    3

                       7300 N. Kendall Drive, Suite 450, Miami, Florida 33156
                                 TEL 305.230.4884 FAX 305.230.4844
                                       www.fairlawattorney.com
Case 0:20-cv-60415-WPD Document 1 Entered on FLSD Docket 02/25/2020 Page 4 of 10



          18.     Plaintiff worked for Defendants from November 15, 2019 and ceased working on

  February 2, 2020.

          19.     Plaintiff’s work for Defendants was actually in or so closely related to the

  movement of commerce while she worked for Defendants that the Fair Labor Standards Act

  applies to Plaintiff’s work for Defendants in the course of his cooking, handling, and serving food

  and produce that traveled through interstate commerce.

          20.     Defendants failed and refused to pay Plaintiff even a minimum wage of $7.25 per

  hour for each of the hours that he worked by failing to timely pay him for the hours he worked

  during a two-week period for Defendants between approximately November 15, 2019 and

  February 2, 2020.

          21.     As a direct and proximate result of Defendants’ violations of the FLSA, as set

  forth above, Plaintiff is entitled to payment of the applicable minimum wage for all unpaid hours

  worked plus payment of all tips wrongfully or improperly held/distributed.

          22.     Defendants either knew from prior experience or recklessly failed to investigate

  whether their failure to pay Plaintiff the applicable a minimum wage for each of the hours

  worked and their retention of tips during the relevant time period violated the FLSA and then

  failed to timely correct their violation.

          WHEREFORE Plaintiff, Miguel Marcelo Cuadros Rubio, demands the entry of a

  judgment in her favor and against Defendants, W&P Restaurant and Lounge Corp f/k/a W&P

  Restaurant Bar and Lounge LLC d/b/a Level 29 By William Levy, Pedro Orihuela, and

  William Levy Gutierrez, after trial by jury and as follows:

                  a.      That Plaintiff recover compensatory minimum wage damages and an

                          equal amount of liquidated damages as provided under the law and in 29
                                                   4

                        7300 N. Kendall Drive, Suite 450, Miami, Florida 33156
                                  TEL 305.230.4884 FAX 305.230.4844
                                        www.fairlawattorney.com
Case 0:20-cv-60415-WPD Document 1 Entered on FLSD Docket 02/25/2020 Page 5 of 10



                         U.S.C. § 216(b) – or interest on the unpaid wages if no liquidated damages

                         are awarded;

                 b.      That Plaintiff recover pre-judgment interest on all unpaid minimum wages

                         if the Court does not award liquidated damages;

                 c.      That Plaintiff recover an award of reasonable attorneys’ fees, costs, and

                         expenses pursuant to the FLSA;

                 d.      That Plaintiff recover all interest allowed by law;

                 e.      That Defendants be Ordered to make Plaintiff whole by providing

                         appropriate minimum wage pay and other benefits wrongly denied in an

                         amount to be shown at trial and other affirmative relief;

                 f.      That the Court declare Defendants to be in willful violation of the

                         overtime provisions of the FLSA; and

                 g.      Such other and further relief as the Court deems just and proper.

                         COUNT II – FLSA OVERTIME VIOLATION

         Plaintiff, Miguel Marcelo Cuadros Rubio, reincorporates and re-alleges paragraphs 1

  through 11 as though set forth fully herein and further alleges as follows:

         23.     Defendants regularly employed two or more employees for the relevant time

  period that handled goods or materials that travelled through interstate commerce, or used

  instrumentalities of interstate commerce, thus making Defendants’ business an enterprise covered

  under the Fair Labor Standards Act.

         24.     Defendants have been, at all times material, an enterprise engaged in interstate

  commerce in the course of their marketing, preparation, cooking, service, and sale of foodstuffs,


                                                   5

                       7300 N. Kendall Drive, Suite 450, Miami, Florida 33156
                                 TEL 305.230.4884 FAX 305.230.4844
                                       www.fairlawattorney.com
Case 0:20-cv-60415-WPD Document 1 Entered on FLSD Docket 02/25/2020 Page 6 of 10



  produce, meats, fish, seafood, beverages, beers, wines, and/or alcoholic beverages, and products

  that have moved through interstate commerce.

         25.     Defendants cooked, prepared, and stored perishables and sold beer, wine, and/or

  alcoholic beverages, while using machinery, appliances, pizza ovens, ovens, refrigerators, and

  materials that also have moved through interstate commerce.

         26.     Furthermore, Defendants regularly and recurrently obtain, solicit, exchange and

  send funds to and from outside of the State of Florida, use telephonic transmissions going outside

  of the State of Florida to conduct business, and transmit electronic information through

  computers, the internet, via email, and otherwise outside of the State of Florida.

         27.     Defendants’ annual gross revenues derived from this interstate commerce are

  believed to be in excess of $500,000.00 for the relevant time period and/or in excess of

  $125,000.00 for each fiscal quarter in which Plaintiff worked.

         28.     To the extent that records exist regarding the exact dates of Plaintiff’s

  employment exist, such records are in the exclusive custody of Defendants.

         29.     Plaintiff worked for Defendants from November 15, 2019 and ceased working on

  February 2, 2020.

         30.     Plaintiff’s work for Defendants was actually in or so closely related to the

  movement of commerce while she worked for Defendants that the Fair Labor Standards Act

  applies to Plaintiff’s work for Defendants in the course of his cooking, handling, and serving food

  and produce that traveled through interstate commerce.

         31.     Plaintiff regularly and routinely worked more than 40 hours in a workweek for

  Defendants.


                                                   6

                       7300 N. Kendall Drive, Suite 450, Miami, Florida 33156
                                 TEL 305.230.4884 FAX 305.230.4844
                                       www.fairlawattorney.com
Case 0:20-cv-60415-WPD Document 1 Entered on FLSD Docket 02/25/2020 Page 7 of 10



         32.     Defendants knew or reasonably should have known that Plaintiff worked more

  than 40 hours during the time he worked for them as a result of their tracking the hours he

  worked and then paying him at his regular rate of pay for all hours worked beyond 40 in a

  workweek (except for the days worked he was not paid).

         33.     Defendants failed and refused to pay Plaintiff at the rate of time and one-half

  times his regular rate of pay (of at least the applicable Florida minimum wage) for all hours

  worked over 40 hours in a workweek.

         34.     Plaintiff is entitled to a backpay award of overtime wages for all overtime hours

  worked, plus an equal amount as a penalty, plus all attorneys’ fees and costs.

        WHEREFORE Plaintiff, Miguel Marcelo Cuadros Rubio, demands the entry of a

  judgment in his favor and against Defendants, W&P Restaurant and Lounge Corp f/k/a W&P

  Restaurant Bar and Lounge LLC d/b/a Level 29 By William Levy, Pedro Orihuela, and

  William Levy Gutierrez, after trial by jury and as follows:

                 a.      That Plaintiff recover compensatory overtime wage damages and an equal

                         amount of liquidated damages as provided under the law and in 29 U.S.C.

                         § 216(b) – or interest on the unpaid wages if no liquidated damages are

                         awarded;

                 b.      That Plaintiff recover pre-judgment interest on all unpaid overtime wages

                         if the Court does not award liquidated damages;

                 c.      That Plaintiff recover an award of reasonable attorneys’ fees, costs, and

                         expenses pursuant to the FLSA;

                 d.      That Plaintiff recover all interest allowed by law;


                                                   7

                       7300 N. Kendall Drive, Suite 450, Miami, Florida 33156
                                 TEL 305.230.4884 FAX 305.230.4844
                                       www.fairlawattorney.com
Case 0:20-cv-60415-WPD Document 1 Entered on FLSD Docket 02/25/2020 Page 8 of 10



                  e.      That Defendants be Ordered to make Plaintiff whole by providing

                          appropriate overtime pay and other benefits wrongly denied in an amount

                          to be shown at trial and other affirmative relief;

                  f.      That the Court declare Defendants to be in willful violation of the

                          overtime provisions of the FLSA; and

                  g.      Such other and further relief as the Court deems just and proper.

                             COUNT III – BREACH OF CONTRACT

          Plaintiff, Miguel Marcelo Cuadros Rubio, reincorporates and re-alleges paragraphs 1

  through 11 as though set forth fully herein and further alleges as follows:

          35.     Through this claim, Plaintiff seeks recover of the “pure gap time” wages that he

  worked and earned, but did not receive.1 See e.g., Jernigan v. 1st Stop Recovery, Inc., 2017 WL

  3682332 (M.D. Fla. Aug. 25, 2017) (citing Davis v. Abington Memorial Hosp., 765 F.3d 236, 244 (3d

  Cir. 2014); Botting v. Goldstein, 2015 WL 10324134 (S.D. Fla. Dec. 21, 2015); Lundy v. Catholic

  Health Sys. of Long Island, Inc., 711 F. 3d 106 (2d Cir. 2013); and Monahan v. Cty. Of Chesterfield, Va.,

  95 F.3d 1263, 1280 (4th Cir. 1996).)

          36.     Plaintiff and Defendants verbally agreed that in exchange for Plaintiff expending

  time and effort on their behalf, they would compensate him at a rate of $1,500.00 for week that

  he worked for them.

          37.     Plaintiff performed under the parties’ contract/agreement by performing work for

  Defendants as aforesaid.

          38.     Defendants, however, failed and refused to perform its obligation to timely pay

  1       Thrower v. Peach County, Georgia, Bd. of Educ., 2010 WL 4536997, at *4 (M.D. Ga. Nov. 2,
  2010) (“In the wage and hour world, this time between scheduled hours and overtime hours is
  known as ‘pure gap time’.”)
                                                      8

                        7300 N. Kendall Drive, Suite 450, Miami, Florida 33156
                                  TEL 305.230.4884 FAX 305.230.4844
                                        www.fairlawattorney.com
Case 0:20-cv-60415-WPD Document 1 Entered on FLSD Docket 02/25/2020 Page 9 of 10



  Plaintiff at the rate of $1,500.00 for two weeks of work for that he worked between approximately

  November 15, 2019 and February 2, 2020, thereby breaching the oral contract/agreement they

  had.

          39.     Plaintiff has been damaged as a result of Defendants’ failure to pay him the

  agreed-upon amount of $3,000.00 for the work he performed between approximately November

  15, 2019 and February 2, 2020 in a timely manner.

          WHEREFORE Plaintiff, Miguel Marcelo Cuadros Rubio, demands the entry of a

  judgment in his favor and against Defendants, W&P Restaurant and Lounge Corp f/k/a W&P

  Restaurant Bar and Lounge LLC d/b/a Level 29 By William Levy, Pedro Orihuela, and

  William Levy Gutierrez, for all damages suffered, plus pre-judgment and post-judgment interest,

  costs and attorneys’ incurred in this matter pursuant to Fla. Stat. §448.08, and to award such

  other and further relief as this Court deems just and proper.

                              COUNT IV – UNJUST ENRICHMENT

          Plaintiff, Miguel Marcelo Cuadros Rubio, reincorporates and re-alleges paragraphs 1

  through 11 as though set forth fully herein and further alleges as follows:

          40.     Through this claim, Plaintiff seeks recover of the “pure gap time” wages that he

  worked and earned, but did not receive.2 See e.g., Jernigan v. 1st Stop Recovery, Inc., 2017 WL

  3682332 (M.D. Fla. Aug. 25, 2017) (citing Davis v. Abington Memorial Hosp., 765 F.3d 236, 244 (3d

  Cir. 2014); Botting v. Goldstein, 2015 WL 10324134 (S.D. Fla. Dec. 21, 2015); Lundy v. Catholic

  Health Sys. of Long Island, Inc., 711 F. 3d 106 (2d Cir. 2013); and Monahan v. Cty. Of Chesterfield, Va.,

  95 F.3d 1263, 1280 (4th Cir. 1996).)

  2       Thrower v. Peach County, Georgia, Bd. of Educ., 2010 WL 4536997, at *4 (M.D. Ga. Nov. 2,
  2010) (“In the wage and hour world, this time between scheduled hours and overtime hours is
  known as ‘pure gap time’.”)
                                                      9

                        7300 N. Kendall Drive, Suite 450, Miami, Florida 33156
                                  TEL 305.230.4884 FAX 305.230.4844
                                        www.fairlawattorney.com
Case 0:20-cv-60415-WPD Document 1 Entered on FLSD Docket 02/25/2020 Page 10 of 10



          41.     Plaintiff provided labor and services for Defendants, and they received and

   accepted the benefits of the labor and services supplied by Plaintiff.

          42.     Plaintiff expected to be paid a reasonable value for the labor and services he

   provided to Defendants.

          43.     Defendants were unjustly enriched in that they failed and refused to make

   payment to Plaintiff for the benefits conferred upon them by Plaintiff between approximately

   November 15, 2019 and February 2, 2020.

          WHEREFORE Plaintiff, Miguel Marcelo Cuadros Rubio, demands the entry of a

   judgment in his favor and against Defendants, W&P Restaurant and Lounge Corp f/k/a W&P

   Restaurant Bar and Lounge LLC d/b/a Level 29 By William Levy, Pedro Orihuela, and

   William Levy Gutierrez, for all damages suffered, plus pre-judgment and post-judgment interest,

   costs and attorneys’ fees incurred in this matter pursuant to Fla. Stat. §448.08, and to award such

   other and further relief as this Court deems just and proper.

                                    DEMAND FOR JURY TRIAL

          Plaintiff, Miguel Marcelo Cuadros Rubio, demands a trial by jury of all issues so triable.

          Respectfully submitted this 25th day of February 2020.

                                                         Brian H. Pollock, Esq.
                                                         Brian H. Pollock, Esq. (174742)
                                                         brian@fairlawattorney.com
                                                         FAIRLAW FIRM
                                                         7300 N. Kendall Drive
                                                         Suite 450
                                                         Miami, FL 33156
                                                         Tel: 305.230.4884
                                                         Counsel for Plaintiff




                                                    10

                        7300 N. Kendall Drive, Suite 450, Miami, Florida 33156
                                  TEL 305.230.4884 FAX 305.230.4844
                                        www.fairlawattorney.com
